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              7

              8                                UNITED STATES DISTRICT COURT
              9               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
             10

             11 LAURA MATTEUCCI,                                      Case No. 4:18-cv-07545-YGR

             12                  Plaintiff,

             13          v.                                             DEFENDANT'S CERTIFICATION OF
                                                                       INTERESTED ENTITIES OR PERSONS
             14 SUTTER BAY HOSPITALS dba MILLS-
                PENINSULA MEDICAL CENTER,
             15
                          Defendant.
             16

             17

             18          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,
             19 associations of persons, firms, partnerships, corporations (including parent corporations), or

             20 other entities have (i) a financial interest of any kind in the subject matter in controversy or in a

             21 party to the proceeding; or (ii) any other kind of interest that could be substantially affected by

             22 the outcome of the proceeding: Sutter Health is Sutter Bay Hospitals' parent corporation.

             23 DATED: February 22, 2019                           HANSON BRIDGETT LLP
             24

             25
                                                               By:          /s/ Molly L. Kaban
             26                                                      MOLLY L. KABAN
                                                                     Attorneys for Defendant
             27                                                      SUTTER BAY HOSPITALS
                                                                     dba MILLS-PENINSULA MEDICAL CENTER
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                                                                                     Case No. 4:18-cv-07545-YGR
15185808.1                        DEFENDANT'S CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
